                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:07CV171-02-MU
                          (3:01CR193-2-MU)


CALVIN E. BUNCH,              )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon the petitioner’s

Motion to Vacate, Set Aside, Or Correct Sentence” under 28 U.S.C.

§2255, filed April 18, 2007.     For the reasons stated herein, the

instant Motion to Vacate will be dismissed as untimely filed.

     As was noted in the Court’s Order of April 23, 2007, entered

pursuant to Hill v. Braxton, 277 F.3d 701, 706 (4th Cir. 2002),

the petitioner pled guilty to six counts of armed bank robbery,

in violation of 18 U.S.C. 2113(d); to six counts of bank robbery,

in violation of 18 U.S.C. §2113(a); and to six counts of using

and carrying a firearm during and in relation to a crime of

violence, in violation of 18 U.S.C. §924©.

     On May 18, 2004, the Court held a Re-sentencing Hearing, at

which time it vacated the petitioner’s convictions and sentences

on the bank robbery charges, and then re-sentenced the petitioner

to nearly 143 years imprisonment on his 12 remaining convictions




     Case 3:01-cr-00193-GCM   Document 63   Filed 05/23/07   Page 1 of 5
for armed bank robbery and firearms violations.

      The petitioner appealed his case to the Fourth Circuit Court

of Appeals.    On appeal, the appellate Court affirmed the peti-

tioner’s convictions and sentences by an unpublished opinion.

See United States v. Bunch, No. 04-4435 slip op. at 3-4, (4th

Cir. November 15, 2005).       Thereafter, the Court of Appeals issued

its mandate on December 7, 2005, and the petitioner did not

pursue certiorari review in the U.S. Supreme Court.

      Rather, after the lapse of more than 16 months, on April 18,

2007, the petitioner filed the subject Motion to Vacate, assert-

ing that he was subjected to ineffective assistance of counsel.

However, the Court recognized that the instant Motion to Vacate

might have been subject to summary dismissal.

      That is, as the Court advised in its Hill Order, in 1996,

Congress enacted the Antiterrorism and Effective Death Penalty

Act (the “AEDPA”).     Among other things, the AEDPA amended 28

U.S.C. §2255 by imposing a 1-year statute of limitations period

for the filing of a motion to vacate.        Such amendment provides:

      A 1-year period of limitation shall apply to a motion under

this section.    The limitation period shall run from the latest

of–

      (1) the date on which the judgment of conviction
      becomes final;

      (2) the date on which the impediment to making a motion
      created by governmental action in violation of the
      Constitution or laws of the United States is removed,

                                     2


      Case 3:01-cr-00193-GCM   Document 63   Filed 05/23/07   Page 2 of 5
      if the movant was prevented from making a motion by
      such governmental action;

      (3) the date on which the right asserted was initially
      recognized by the Supreme Court and made retroactively
      applicable to cases on collateral review; or

      (4) the date on which the facts supporting the claim or
      claims presented could have been discovered through the
      exercise of due diligence.

      Upon its initial review, the Court observed that the Court

of Appeals’ mandate was filed on December 7, 2005, making the

petitioner’s case final on or about March1 7, 2006--that is, at

the expiration of the 90-day period during which the petitioner

could have filed (but did not file) a petition for a writ of

certiorari in the U.S. Supreme Court.          See Hernandez v. Caldwell,

225 F.3d 435, 439 (4th Cir. 2000).        By the Court’s calculations,

the petitioner had up to and including March 7, 2007 in which to

file the instant Motion.

      Inasmuch as the petitioner’s Motion to Vacate was dated

April 13, 2007, and was not filed until April 18, 2007, the

Court’s Hill Order advised the petitioner of its impression that

such Motion was untimely filed.        Consequently, the petitioner was

directed to file a document explaining why his Motion should be

deemed timely filed.      Further, the petitioner was directed to



      1
       In the Court’s Hill Order, the petitioner was mistakenly advised that
his convictions and sentences became final on April 7, rather than March 7,
2006. However, such error is of little consequence in that such erroneous
calculation actually would have extended the petitioner’s deadline by one
month and, as will be discussed later, petitioner did not even bother to
respond to that Order as he was directed to do.

                                      3


     Case 3:01-cr-00193-GCM    Document 63    Filed 05/23/07   Page 3 of 5
file that document within twenty (20) days of the entry of the

Court’s Order, that is, by no later than May 13, 2007.

     Notwithstanding the Court’s Order, May 13, 2007 passed

without significance for this case as the petitioner did not file

a document as he was directed to do.          Further, more than one week

has passed since the passage of the petitioner’s most recent

deadline, and he still has not filed any explanation with the

Court.   Consequently, the Court finds that the petitioner’s

Motion to Vacate must be dismissed as untimely filed.

     To be sure, the petitioner’s filing deadline was March 7,

2007, but the evidence before the Court demonstrates that he did

not even complete and sign the instant Motion to Vacate until

more than one month later on April 13, 2007.           Furthermore, the

petitioner has failed to submit any argument to establish how his

Motion could be deemed timely filed, or that the filing deadline

should be equitably tolled for him.          See Harris v. Hutchinson,

209 F.3d 325, 330 (4th Cir. 2000).

     Ultimately, the AEDPA requires that petitioners seeking to

bring Motions to Vacate under 28 U.S.C. 2255 bring such Motions

within one year of the date on which the convictions and/or

sentences became final.       Here, the petitioner has failed to meet

that requirement and, in any event, he has failed to establish

another basis for construing his Motion as timely filed.

Accordingly, the petitioner’s Motion to Vacate must be dismissed.


                                     4


     Case 3:01-cr-00193-GCM    Document 63    Filed 05/23/07   Page 4 of 5
     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the instant Motion to Vacate is DISMISSED as

untimely filed; and

     2.   That the Clerk shall send copies of this Order to the

petitioner and to the United States Attorney.

     SO ORDERED.



                                   Signed: May 22, 2007




                                   5


    Case 3:01-cr-00193-GCM   Document 63   Filed 05/23/07   Page 5 of 5
